Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 1 of 15 Pageid#: 3102




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                                ABINGDON

  UNITED STATES OF AMERICA                 )
                                           )
        v.                                 )
                                           )           Case No. 1:19cr00016
  INDIVIOR INC. (a/k/a Reckitt             )
  Benckiser Pharmaceuticals Inc.) and      )
  INDIVIOR PLC,                            )
    Defendants                             )

                                        VERDICT

        We, the jury, unanimously find as to INDIVIOR INC. (a/k/a Reckitt Benckiser

  Pharmaceuticals Inc.):



  Count One                Conspiracy to Commit Mail, Wire, and Health Care Fraud

                           __________               __________
                           Not Guilty               Guilty




  Count Two                Health Care Fraud

                           __________               __________
                           Not Guilty               Guilty




  Count Three              Mail Fraud

                           __________               __________
                           Not Guilty               Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 2 of 15 Pageid#: 3103




  Count Four             Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Five             Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Six              Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Seven            Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Eight            Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 3 of 15 Pageid#: 3104




  Count Nine             Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Ten              Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Eleven           Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twelve           Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Thirteen         Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 4 of 15 Pageid#: 3105




  Count Fourteen         Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Fifteen          Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Sixteen          Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Seventeen        Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Eighteen         Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 5 of 15 Pageid#: 3106




  Count Nineteen         Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty           Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-One       Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Two       Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Three     Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 6 of 15 Pageid#: 3107




  Count Twenty-Four      Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Five      Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Six       Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Seven     Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Twenty-Eight     Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 7 of 15 Pageid#: 3108




                           _________________________
                                   Foreperson
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 8 of 15 Pageid#: 3109




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                                ABINGDON

  UNITED STATES OF AMERICA                 )
                                           )
        v.                                 )
                                           )          Case No. 1:19cr00016
  INDIVIOR INC. (a/k/a Reckitt             )
  Benckiser Pharmaceuticals Inc.) and      )
  INDIVIOR PLC,                            )
    Defendants                             )

                                        VERDICT

        We, the jury, unanimously find as to INDIVIOR PLC:




  Count One               Conspiracy to Commit Mail, Wire, and Health Care Fraud

                          __________               __________
                          Not Guilty               Guilty




  Count Two               Health Care Fraud

                          __________               __________
                          Not Guilty               Guilty




  Count Three             Mail Fraud

                          __________               __________
                          Not Guilty               Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 9 of 15 Pageid#: 3110




  Count Four             Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Five             Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Six              Mail Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Seven            Wire Fraud

                         __________              __________
                         Not Guilty              Guilty




  Count Eight            Wire Fraud

                         __________              __________
                         Not Guilty              Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 10 of 15 Pageid#: 3111




   Count Nine             Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Ten              Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Eleven           Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twelve           Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Thirteen         Wire Fraud

                          __________             __________
                          Not Guilty             Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 11 of 15 Pageid#: 3112




   Count Fourteen         Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Fifteen          Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Sixteen          Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Seventeen        Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Eighteen         Wire Fraud

                          __________             __________
                          Not Guilty             Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 12 of 15 Pageid#: 3113




   Count Nineteen         Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty           Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-One       Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Two       Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Three     Wire Fraud

                          __________             __________
                          Not Guilty             Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 13 of 15 Pageid#: 3114




   Count Twenty-Four      Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Five      Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Six       Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Seven     Wire Fraud

                          __________             __________
                          Not Guilty             Guilty




   Count Twenty-Eight     Wire Fraud

                          __________             __________
                          Not Guilty             Guilty
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 14 of 15 Pageid#: 3115




                           _________________________
                                   Foreperson
Case 1:19-cr-00016-JPJ-PMS Document 363 Filed 03/11/20 Page 15 of 15 Pageid#: 3116




                                   CERTIFICATE OF SERVICE

          I certify that on March 11, 2020, I electronically filed the foregoing Verdict form with the

   Clerk of Court via the CM/ECF system, which will send notification of the filing to all counsel

   of record in this matter.

                                                    /s/ Albert P. Mayer, VSB No. 86024
